Case 2:05-cr-20056-SH|\/| Document 76 Filed 09/01/05 Page 1 of 2 Page|D 74

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WESTERN DISTRICT oF TENNESSEE HLED *"'" /‘b'b‘ ~- ~ D-C-
Western Division

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UNITED sTATEs 0F AMERICA C,_tgl\b 5'TLCDOUR5
ns tr z rentals
-vs- Case No. 2:05cr20056-13Ma

KOREY GRANDBERRY

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention heating is set for
WEDNESDAY, SEPTEMBER 7, 2005 at 11:00 A.M. before United States Magistrate Judge
Diane K. Vescovo in Courtroom No. 5, Third Floor, United States Courthouse and Federal
Building, 167 North Main, Mernphis, TN TN. Pending this hearing, the defendant shall be held in
custody by the United States Marshal and produced for the hearing.

Date: September1,2005 C ~ f M

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

1It` not held immedi ater upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(£)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(1) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial ofticer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or j uror.

AO 470 (Bi85) Order of Ternporary Detention

Thls document entered on the docket sheet in compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 76 in
case 2:05-CR-20056 Was distributed by faX, mail, or direct printing on
Septernber 15, 2005 to the parties listed.

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

